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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA           )
                                   )
    v.                             )        CRIMINAL ACTION NO.
                                   )          2:10cr186-MHT
MILTON E. McGREGOR,                )                (WO)
THOMAS E. COKER,                   )
LARRY P. MEANS,                    )
JAMES E. PREUITT,                  )
HARRI ANNE H. SMITH, and           )
JARRELL W. WALKER, JR.             )


                                ORDER

    It is ORDERED that all pending motions for judgment of

acquittal are set for oral argument in open court at 11:00

a.m. on February 27, 2012, in the Frank M. Johnson Jr.

United States Courthouse Complex, Courtroom 2FMJ, One

Church Street, Montgomery, Alabama.

    DONE, this the 27th day of February, 2012.


                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
